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          In the United States Court of Federal Claims
                                         No. 23-766T
                                    (Filed: June 21, 2023)


                                               )
 PAUL BRUYEA,                                  )
                                               )
                       Plaintiff,              )
                                               )
           v.
                                               )
 THE UNITED STATES,                            )
                                               )
                       Defendant.              )
                                               )
                                               )
                                               )

                                           ORDER

       On May 25, 2023, Plaintiff, Mr. Paul Bruyea, filed his tax refund complaint against
Defendant, the United States. ECF No. 1. On the same day, this case was randomly
assigned to the undersigned judge pursuant to Rule 40.1(a) of the Rules of the United
States Court of Federal Claims (“RCFC”). ECF No. 4; see RCFC 40.1–40.2. Plaintiff has
filed no notice of directly or indirectly related cases pursuant to RCFC 40.2.

       On June 7, 2023, Plaintiff filed a motion to transfer his case to the Honorable
Marian Blank Horn of this Court pursuant to RCFC 40.1(b). ECF No. 9. Plaintiff argues
that his case and Christensen v. United States, No. 20-935T (Fed. Cl. filed July 31, 2020)
(Horn, J.), present “the identical issue” and involve the same counsel. Id. at 1. Plaintiff
thus asserts a transfer would serve “the efficient administration of justice.” Id. at 2.

        On June 12, 2023, the government filed its response brief arguing that a transfer
of this case to Judge Horn would not improve judicial efficiency. ECF No. 10 at 2
(“[D]ifferent judges in this Court commonly resolve similar legal issues brought in
separate cases by separate parties.”); see, e.g., E&I Glob. Energy Servs., Inc. v. United States,
152 Fed. Cl. 524, 532 n.5 (2021) (“Court of Federal Claims decisions, while persuasive, do
not set binding precedent for separate and distinct cases in that court.” (quoting W. Coast
Gen. Corp. v. Dalton, 39 F.3d 312, 315 (Fed. Cir. 1994))). On June 20, 2023, Plaintiff filed its
reply brief. ECF No. 11.
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      As the undersigned previously has explained, there are general principles
governing case assignments — reflecting considerations that should play a role in
deciding transfer motions, as well:

               Pursuant to the [RCFC], cases are assigned to judges of this
               Court at random. RCFC 40.1(a). The practice of assigning
               new cases randomly “is designed to preclude the appearance
               of ‘judge shopping,’ which brings with it a host of concerns.”
               PGBA, LLC v. United States, No. 03-1986, slip op. at 2 (Fed. Cl.
               Dec. 2, 2003)[, ECF No. 130] (citing Knox v. McGinnis, 1990 WL
               103277 (N.D. Ill. July 16, 1990); In re Charge of Jud[.] Misconduct
               or Disability, 196 F.3d 1285 (D.C. Cir. 1999)). In contrast, a case
               is assigned to a specific judge of this Court when a party
               believes its case is “directly related” to a previous case
               decided by that judge. RCFC 40.2(a)(4)(A). Cases are
               “directly related” when they “involve the same parties and
               are based on the same or similar claims,” or if the cases
               “involve the same contract, property[,] or patent.” RCFC
               40.2(a)(2). In such situations, a party must file a notice of
               directly related case(s). RCFC 40.2(a)(1). When a party files
               such a notice, the Clerk assigns that party’s case “to the judge
               to whom the earliest-filed case is assigned.”                RCFC
               40.4(a)(4)(A). If the judge decides that “the case is not in fact
               directly related to the earliest-filed case, the judge will return
               the case to the clerk for random assignment.” Id.

ITility, LLC v. United States, No. 21-2186C, 2021 WL 5611532, at *1 (Fed. Cl. Nov. 30, 2021).1

      Based on the foregoing, the Court sees no reason whatsoever to transfer this case
and hereby DENIES Plaintiff’s motion to transfer, ECF No. 9.

       IT IS SO ORDERED.

                                                    s/Matthew H. Solomson
                                                    Matthew H. Solomson
                                                    Judge




1See also RCFC 40.2(b)(1) (indicating parties “may” file notice of indirectly related cases); RCFC
40.2(b)(4) (“[A]ssigned judges . . . determine what action, if any, is appropriate[.]”).
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